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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                            CR 07-240-05 MJD/FLN

             Plaintiff,

      v.                                             ORDER

Michael Richard Berry,

             Defendant.
             ________________________________________________

      Based upon the Findings of Fact, Conclusions of Law, and Recommendation by

United States Magistrate Judge Franklin L. Noel dated December 28, 2007, all the files

and records, and no objections having been filed to said Report and Recommendation,

      IT IS HEREBY ORDERED that Defendant’s motions to suppress and to dismiss

[##112, 113, 114, 119] are DENIED.




DATED: January 16, 2008.                 s/Michael J. Davis
at Minneapolis, Minnesota                JUDGE MICHAEL J. DAVIS
                                         United States District Court
